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IN THE UNITED sTATES DISTRICT coURT ?/ ‘3-"#-

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JOHN DOUGHERTY,
Plaintiff,
NO. 03~2115 Ma V

FAULKNER’S AUTO BODY CENTER,
INC., and RONALD COLEMAN,

Defendants.

 

ORDER DENYING PLAINTIFF’S MOTION TO AMEND SCHEDULING ORDER

 

Before the court is Plaintiff John Dougherty's motion to amend
the scheduling order, filed April 29, 2005. Defendant Ronald
Coleman responded on May 16, 2005. For the following reasons, the

motion is DENIED.

Plaintiff is currently prosecuting another case in this court
styled Doughertv v. Faulkner, No. 04-2088 (“the fraud action”),
which involves similar facts and is currently scheduled for trial
on June 20, 2005. This suit (“the derivative action”} is scheduled
for trial on July 18, 2005. Plaintiff seeks to amend the
scheduling order by switching the two trial dates, trying the
derivative action on June 20, and delaying the fraud action until

July 18, 2005.

In the derivative action, Plaintiff asserts shareholder

derivative claims against Defendant Ronald Coleman arising from his

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work as an attorney on behalf of Faulkner Auto Body Center, Inc.
(“FABC”) in prior litigation.l In the fraud action, Plaintiff
seeks damages directly from FABC and Defendant Gary Eaulkner.
Plaintiff contends that FABC has no assets other than its claims
against Coleman and Gary Faulkner and that Faulkner also has few
assets. Plaintiff argues, therefore, that if he is unsuccessful in
the derivative action, he would have little reason to proceed with
the fraud actioni Plaintiff claims further that if he is
successful in the fraud action, the amount of damages will be
unknown if the derivative claims against Coleman in this suit are

not resolved.

Although it is true that a particular outcome in the
derivative action could lead to the settlement or voluntary
dismissal of the fraud action, it is also possible that a
particular outcome in the fraud action will lead to dismissal of
the derivative action. One disputed issue in both cases is the
allegedly fraudulent conveyance by FABC to Gary Faulkner,
individually, of FABC's interest in prior anti-trust litigation.
If, in the fraud action, this conveyance were found valid,
Plaintiff could be deprived of his claims in the derivative action
arising from the anti-trust litigation. Thus, an earlier trial of

the fraud action could lead to the dismissal of the derivative

 

1 The complaint also asserts that the corporation is deadlocked and

seeks appointment of a custodian.

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action. The court, therefore, can find no compelling reason why

the derivative action should be tried before the fraud action.

Plaintiff had the opportunity to sue FABC, Gary Faulkner, and
Ronald Coleman jointly, or to move that the two suits be
consolidated. (See Stat. Conf. Minutes, March 26, 2004.) Because
he chose not to do so, he should not now be heard to complain of
the inconvenience of bringing the two actions separately. For the
foregoing reasons, Plaintiff's motion to amend the trial schedule

is DENIED.

So ordered this /qd/Lday of May 2005.

MJ/M//__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

     

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G. Patrick Arnoult

THE BOGATIN LAW FIRM
1661 International Place Dr.
Suite 300

1\/1emphis7 TN 38120

Geoffrey Gaia

McWH[RTER WYATT & ELDER
73 Union Ave.

1\/1emphis7 TN 38103

Daniel W. Small

SMALL SOPER OAKLEY
One Burton Hills Blvd.

Ste. 330

Nashville, TN 37215

Greg Oakley

SMALL SOPER & OAKLEY
One Burton Hills Blvd.

Ste. 330

Nashville, TN 37215

Warren D. McWhirter
McWH[RTER WYATT & ELDER
73 Union Ave.

1\/1emphis7 TN 38103

.1. Cecil McWhirter

MCWH[RTER WYATT BRANNON & ELDER
73 Union Avenue

1\/1emphis7 TN 38103

Robert L. Green

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/1emphis7 TN 30103

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Honorable Samuel Mays
US DISTRICT COURT

